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                       IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


 FEDERAL TRADE COMMISSION,                                 Case No. 3:19-cv-02281-K

         Plaintiff,                                        Plaintiff’s Reply to Defendant’s
                                                           Opposition to Motion to Exclude
         v.                                                Matters Outside the Pleadings

 MATCH GROUP, INC., a corporation,

          Defendant.



       Plaintiff Federal Trade Commission (“FTC”) respectfully submits this reply to the

opposition (Dkt. 31) filed by Defendant Match Group, Inc. (“Match”) to make three brief points:

       First, the FTC agrees with Match that the issues we address in our Motion to Exclude

(“Motion”) (Dkt. 26) are “matters that the Court need not rely on in considering the Motion to

Dismiss.” Opp. at 1. Match opposes our Motion by describing the purported facts it seeks to

retain as variously “irrelevant,” “not necessary,” and as facts the Court “need not legally rely

on.” Opp. at 1, 3. The FTC agrees: the extraneous facts Match included are legally irrelevant,

and the Court should therefore exclude them.

       Second, Match’s opposition cites to a “clear” non-binding Fifth Circuit opinion that has

nothing to do with whether Match improperly introduced matters outside the pleadings; instead,

it bears only on what the Court may do with information made available to it. In Knighton v.

Merscorp, Inc., 304 F. App’x 285 (5th Cir. 2008) (unpublished), the plaintiffs argued that the

district court erred by including matters outside the pleadings in its findings on a motion to

dismiss, and the Fifth Circuit declined to hold the district court in error because the court had not

placed legal reliance on the matters. Id. at 287. Knighton had nothing to do with whether the

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matters raised are outside the pleadings or not. Instead, it only related to whether the court had

committed reversible error by exercising its discretion to include background information it did

not rely upon to determine the case before it. The FTC has never challenged the Court’s broad

discretion to entertain facts, see, e.g., Mtn. at 7-8, and that discretion includes taking notice of

them while ignoring them entirely in evaluating the merits of the case. That the Court may

include Match’s purported facts has nothing to do with whether it should do so, however, and the

Motion argues that the Court should not include them, whether as legally significant matters of

fact or otherwise.1

       Finally, the Court should disregard Match’s attempt to get another bite at the 12(b)(6)

apple by using its opposition to recapitulate purportedly “fatal defects in the FTC’s Complaint”

from its motion to dismiss. See generally Opp. at 1-3 (re-litigating Section 13(b) and Count V).

These matters are improper to raise here, and the Court should therefore ignore them.

                                             Conclusion

       The FTC respectfully requests the Court to grant its Motion to Exclude.

                                               Respectfully submitted,

DATED: December 3, 2019                /s/ Zachary A. Keller______________________
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1
  The “background” information Match provides is a misleading gloss on the history of the case
in any event. Compare, e.g., Motion to Dismiss (Dkt. 20) at 6 (“The DOJ declined the case . . . ”)
(emphasis in original) with Opposition (Dkt. 27) at 4 (Department of Justice “issu[ed] a grand-
jury subpoena to Match regarding the conduct in the FTC’s complaint.”).
                                                   2
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                                CERTIFICATE OF SERVICE

       On December 3, 2019, I filed the foregoing document with the clerk of court for the U.S.

District Court, Northern District of Texas. I hereby certify that I have served the document on

counsel by a manner authorized by Federal Rule of Civil Procedure 5(b)(2).




                                                                             /s/ Zachary A. Keller
                                                                                 Zachary A. Keller
